Case 20-10447-amc      Doc 11   Filed 02/11/20 Entered 02/11/20 09:56:10        Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Janice Y. Thomas                              CHAPTER 13

                           Debtor(s)                 BKY. NO. 20-10447 AMC


                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

 To the Clerk:

        Kindly enter my appearance on behalf of SLC 2018-1 Trust and index same on the
 master mailing list.


                                                   Respectfully submitted,
                                               /s/ Rebecca A. Solarz Esquire
                                               Rebecca A Solarz, Esquire
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